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                                      EXHIBIT I
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                                                                      1
             IN THE UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF MASSACHUSETTS


IN RE:                            )
                                  )   CA No. 07-10248-PBS
PHARMACEUTICAL INDUSTRY AVERAGE   )   CA No. 06-11337-PBS
WHOLESALE PRICE LITIGATION        )   CA No. 05-11084-PBS
                                  )   Pages 1-47




                      STATUS CONFERENCE

             BEFORE THE HONORABLE PATTI B. SARIS
                 UNITED STATES DISTRICT JUDGE




                              United States District Court
                              1 Courthouse Way, Courtroom 19
                              Boston, Massachusetts
                              November 13, 2008, 3:45 p.m.




                        LEE A. MARZILLI
                   OFFICIAL COURT REPORTER
                 United States District Court
                 1 Courthouse Way, Room 3205
                      Boston, MA 02210
                        (617)345-6787
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                                                                                              2 (Pages 2 to 5)
                                                                    2                                                                     4
 1   A P P E A R A N C E S:                                              1 office, but it all gets intermingled with other cases. I
 2
                                                                         2 want to make sure I didn't miss anything.
     FOR THE PLAINTIFFS:
 3                                                                       3          And, by the way, did you all notice we have now
        GEJAA T. GOBENA, ESQ. and JUSTIN DRAYCOTT, ESQ.,                 4 deconstructed our docket, so hopefully we can follow the
 4   United States Department of Justice, Civil Division,
     P.O. Box 261, Ben Franklin Station, Washington, D.C., 20044,        5 case more easily with respect to the subcategories. If
 5   for the United States of America.                                   6 anyone has confusion about that, please ask Mr. Alba because
 6      GEORGE B. HENDERSON, ESQ. and BARBARA HEALY SMITH,
                                                                         7 it should be a lot easier now to follow what's happening in
     ESQ., United States Attorney's Office, United States
 7   Courthouse, 1 Courthouse Way, Suite 9200, Boston,                   8 these cases as opposed to the New York cases and the
     Massachusetts, 02210, for the United States of America.             9 California cases and the like, so we're going to do that.
 8
        JAMES JOSEPH BREEN, ESQ., The Breen Law Firm,                   10          Now, this is, as far as I'm concerned, unless you
 9   5755 North Point Parkway, Suite 39, Alpharetta, Georgia,           11 think otherwise, only the Ven-A-Care cases. Is that right?
     30022, for the Relator, Ven-A-Care of the Florida Keys, Inc.
                                                                        12          MR. HENDERSON: Correct, your Honor.
10
11   FOR THE DEFENDANTS:                                                13          THE COURT: Because I received some notice coming
12      NEIL MERKL, ESQ., Kelley Drye & Warren, LLP,                    14 in from New York telling me that they don't plan on
     101 Park Avenue, New York, New York, 10178k,
13   for Dey, Inc.                                                      15 attending, and inasmuch as I'd love to see them, I wasn't
14      JOHN W. REALE, ESQ., Kirkland & Ellis, LLP,                     16 planning on them attending. Is there anyone here from
     200 East Randolph Drive, Chicago, Illinois, 60601,
                                                                        17 another case that didn't understand that?
15   for Boehringer Ingelheim Corporation, et al.
16      JAMES R. DALY, ESQ., Jones Day,                                 18          Okay, just on the Ven-A-Care cases, what is it
     77 West Wacker, Chicago, Illinois, 60601-1692,                     19 that I need to resolve?
17   for Abbott Laboratories.
18                                                                      20          MR. HENDERSON: Your Honor, as I understand it,
19                                                                      21 the defendants are essentially seeking an extension of the
20
                                                                        22 discovery schedule and at least for seven states which are
21
22                                                                      23 in litigation in which they have just issued notices for the
23                                                                      24 last -- I'm sorry, five states, I think, which are in
24
25                                                                      25 litigation. Is it five or seven? Seven, seven states.

                                                                    3                                                                     5
 1               PROCEEDINGS                                             1          THE COURT: Right now the discovery cutoff is
 2           THE CLERK: In re: Pharmaceutical Industry                   2 December 15. Is that correct?
 3 Average Wholesale Price Litigation, Civil Action                      3          MR. HENDERSON: That's correct. The defendants
 4 Nos. 07-10248, 06-11337, and 05-11084, will now be heard              4 have announced that -- they've requested us to agree to an
 5 before this Court. Will counsel please identify themselves            5 extension of the discovery schedule for at least these seven
 6 for the record.                                                       6 states that are in litigation elsewhere, and they would like
 7           MR. HENDERSON: George Henderson for the United              7 to be able to essentially have our discovery take place
 8 States, your Honor.                                                   8 according to the litigation schedules of those seven other
 9           MS. SMITH: Barbara Healy Smith, also for the                9 jurisdictions, which --
10 United States.                                                       10          THE COURT: Short of that, though, do you have the
11           MR. GOBENA: Gejaa Gobena on behalf of the United 11 other depositions scheduled?
12 States.                                                              12          MR. MERKL: Yes, your Honor.
13           MR. BREEN: Jim Breen on behalf of the relator,             13          THE COURT: I'm not inclined to wait. I'm very
14 Ven-A-Care of the Florida Keys.                                      14 eager. This was an agreed-upon schedule. I, of course,
15           MR. MERKL: Neil Merkl on behalf of defendant Dey. 15 would extend a schedule if somebody got sick or, you know,
16           MR. REALE: John Reale on behalf of the Boehringer          16 something happens to you personally, but I don't want to
17 defendants.                                                          17 wait for the schedules in the other states.
18           MR. DALY: Good afternoon, Judge. Jim Daly on               18          MR. MERKL: Your Honor, we've basically completed
19 behalf of Abbott Labs.                                               19 twenty-two states, okay? That leaves twenty-nine that we
20           THE COURT: Great. Today is a status conference,            20 need to do. Twenty-one of those states we have issued, in
21 and I at least received a few things from the defendants.            21 accordance with the procedure we discussed with your Honor,
22 I'm not sure, did I receive anything from you?                       22 the 30(b)(6) and in some cases the 30(b)(1) and the document
23           MR. HENDERSON: No, your Honor.                             23 subpoenas. We have dates for those or most of those before
24           THE COURT: All right, I always want to check               24 the 15th.
25 because it's such a messy docket, no fault of our Clerk's            25          THE COURT: Okay.
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                                                                                           3 (Pages 6 to 9)
                                                                 6                                                                     8
 1          MR. MERKL: What we'd like is, could we extend             1 being heavily litigated? Is that it?
 2 that time 60 days?                                                 2           MR. MERKL: Well, there's seven that are being
 3          What Mr. Henderson was referring to was a separate        3 heavily litigated, twenty-one that are less so. But we have
 4 proposal I made, which is, there are seven states where the        4 actually everything noticed, and it's going to be this mad
 5 discovery in those states -- those are litigating states --        5 dash --
 6 is actively going on or about to start. We felt that rather        6           THE COURT: Excuse me. What are the ones that are
 7 than dropping our own 30(b)(6) notice and our own document         7 currently under litigation in these other states?
 8 demand in the middle of those proceedings, that could we           8           MR. MERKL: The seven states that I was referring
 9 work with them and cross-notice --                                 9 to are Idaho, Mississippi, New York, Utah, South Carolina,
10          THE COURT: You know what, let me just say,               10 Pennsylvania, Iowa.
11 normally I would say "Yes, sure," but I'm not willing to          11           MR. HENDERSON: And Kansas has just filed suit.
12 wait the time that it would take. It puts us too far behind       12           MR. MERKL: Well, Kansas we would propose to do
13 the eight ball.                                                   13 with the standard 30(b)(6) approach by December 15 because
14          MR. MERKL: Well, the understanding would be, your 14 it has to start --
15 Honor, on those seven states is that what we were proposing       15           THE COURT: So with the exception of these, can't
16 there was that would not affect things like experts and           16 we -- listen, I view this as potentially overwhelming to do
17 summary judgment. It would just --                                17 the summary judgment in all the states anyway. What if we
18          THE COURT: Well, how could it not? I mean, take          18 were just to let these go their normal -- let them pick up
19 Massachusetts, which is the one that I've now got my sleeves      19 discovery in these other cases but keep to December 15 for
20 rolled up on. It's a mess understanding what happened to          20 every other state?
21 that Medicaid program. It changed from year to year; there        21           MR. MERKL: Yes.
22 were different policies at different points. You've got to        22           THE COURT: And not put off, not put off anything
23 do discovery state by state, as far as I can tell. And it         23 by 60 days, not put off -- do summary judgment on the
24 matters. It matters to, you know, issues like causation.          24 other --
25 If in fact you're going to litigate all these states and          25           MR. MERKL: Forty-one.

                                                                 7                                                                     9
 1 you're going to defend all these states, each state has its        1          THE COURT: -- forty-three or whatever -- I don't
 2 own story, doesn't it, for Medicaid? Are you finding that?         2 know how many states we're talking about -- states. In
 3          MR. MERKL: Yes, your Honor, and I guess the               3 other words, keep completely on the schedule. You finish --
 4 reason we were proposing carving those out, realizing that         4 I'm not going to extend the December 15. This is just
 5 you prefer not to do that now, was just to hope to take            5 getting too far beyond, and everyone agreed to the schedule,
 6 advantage of that massive ongoing discovery that other             6 but we basically carve off these states because we're going
 7 parties are already doing so that we could focus this. If          7 to have plenty on our plate.
 8 that's not workable, I guess we'd still like an extra              8          MR. HENDERSON: Your Honor, I don't think -- I
 9 60 days to try and get it all done.                                9 mean, as far as we're concerned, those seven states, they've
10          THE COURT: Well, let me just ask you this. Let           10 just been noticed too late. And I will report to the Court
11 me just back up. Understanding that every single state            11 that we've been in touch with counsel for those litigating
12 might have a different story, by December 15, how many            12 states, except for South Carolina which we haven't really
13 states will we be done with without those that are heavily        13 conferred with. All of them oppose this --
14 litigating?                                                       14          THE COURT: Are you moving for summary judgment,
15          MR. HENDERSON: Your Honor, if I might say so, we 15 or are you? Everybody is, right?
16 don't need to do discovery in all of the states in order to       16          MR. MERKL: Everybody is, your Honor.
17 establish what their Medicaid reimbursement formulas have         17          MR. HENDERSON: Yeah, I'm not sure we're going to
18 been over time. Those changes are established as a matter         18 be moving for summary judgment on all issues for all states.
19 of law in state plan amendments. Ninety-nine percent of the       19          THE COURT: I don't know. I think what's going to
20 discovery of states that has been going on has been               20 happen is going to be overwhelming to me. And short of the
21 "the government knowledge" defense, and the reason --             21 First Circuit just dramatically changing the territory, I
22          THE COURT: All right, that may be true too. My           22 think it is going to crush my session -- I'm just putting it
23 point is, what if we did this? I'm not inclined to extend         23 out there, all right? -- to try and figure out, you know,
24 the schedule. This case is taking too long. It's going            24 forty-three, forty-one states. I think I'll have plenty to
25 forever. But what if -- what is it, seven states that are         25 do. So I think what makes sense is, why don't we -- I'm not
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                                                                                      4 (Pages 10 to 13)
                                                                 10                                                                  12
 1 going to extend the schedule. We are going to keep to this          1 starting and they stored all their documents and kept all
 2 schedule. If these states can do -- rather than kill you            2 their documents. It's not. Some of them are starting from
 3 over Thanksgiving and Christmas to try and put all these in,        3 the get-go, and it's a struggle getting them to turn the
 4 it is cost-effective to piggyback on what's happening with          4 stuff around quickly.
 5 these other states, and in the meantime, put all the other          5          THE COURT: That's your fault for waiting so long.
 6 states on the schedule we agreed to.                                6 Basically we all agreed with the schedule. I think it
 7          MR. HENDERSON: The difficulty with that, your              7 was -- I went back to look. It says joint, joint.
 8 Honor, is then we don't know what the schedules of those            8          MR. MERKL: Yes, your Honor, yes.
 9 other states are, and we're essentially putting off                 9          THE COURT: All right, so understand, I'm not here
10 discovery indefinitely.                                            10 to make people spend a fortune. If someone else is going to
11          THE COURT: Well, that's why I'm for sure not              11 do Utah, all power to them. I mean, we'll see about that
12 putting off the whole of Florida. If at some point when            12 later. But I think we can move this case, we can start
13 we're much closer, if it looks like they are lost in               13 working it through and just getting it going on the other
14 Never-Never-Land, then tell me that that's impossible. But         14 states. You agreed; you're stuck with it. If you don't get
15 I just don't see how -- I've watched Mylan I'm working             15 your documents, as far as I'm concerned, I'm sorry, but you
16 through, okay, and it is unbelievably fact-intensive and           16 took too long to start it going. So, you know, it's got to
17 difficult to go through what the Medicaid policies are. It         17 be reasonable. They'll do what they reasonably can do, and
18 is not just a question of law. It's who knew what, how did         18 that's what we'll do.
19 it happen, when did the policies change? It's hard, it's           19          Now, that having been said, now I -- I think
20 really hard, and we're working through that right now. So          20 that's it for that issue, right?
21 if there are other states that look like that, that's going        21          MR. MERKL: Well, Medicaid, yes, your Honor, on
22 to be -- it's going to be state by state: What did they            22 the discovery. There's some other pending discovery
23 know, when did they know it, what was the statutory scheme? 23 motions.
24 And so I think I'll have plenty to do and so will you. I           24          THE COURT: Yes, I think there are. Now, I called
25 don't think you'll be wanting for things to do.                    25 Judge Bowler this morning, and I'm trying to figure out what

                                                                 11                                                                  13
 1          MR. HENDERSON: I might want a vacation, your               1 the status was, and do you have a bunch of -- do you have
 2 Honor, at the end of it all.                                        2 any -- various motions for protective order have been filed,
 3          THE COURT: You get Thanksgiving and Christmas.             3 is that it? Have they been opposed? What's the status of
 4 And so I'm not putting this off. We are kick-starting this.         4 all that?
 5 We need this to happen. And so I don't think it's so                5          MR. HENDERSON: I can't -- there are a bunch of --
 6 terrible if we do forty-one or forty-three states rather            6 the defendants have a bunch of motions, pending motions that
 7 than fifty; and the truth is, if I start ruling your way on         7 have been fully briefed to compel. We, I think, just filed
 8 a bunch of these, it may refine our knowledge with respect          8 a motion for protective order. In the Roxane case, we only
 9 to the others and then vice versa as well.                          9 just on Monday got delivered two hard drives and four CDs of
10          MR. MERKL: I understand you to mean rule in my            10 materials that have been requested way back in 2007, and we
11 way?                                                               11 just got them now. So there are going to be issues like
12          THE COURT: Yes, either way. I mean, it will               12 this that probably have to be dealt with on a case-by-case
13 start focusing people on the summary judgment. So as I'm           13 basis on separate motions. The defendants have some motions
14 hearing it, everything was going to be done except for these       14 to compel. We may have some.
15 states, right?                                                     15          THE COURT: Does that affect these joint
16          MR. MERKL: Yes. Well, everything is noticed, but          16 scheduling orders? Were these produced too late? Or is
17 the problem --                                          17 this just a question of -- does it affect depositions or
18       THE COURT: Then you're going to have to live with 18 anything that you just got these documents?
19 it. You agreed to that schedule; live with it.          19         MR. HENDERSON: It may. We have to look at them
20       MR. MERKL: Can I just point out one thing that's  20 and see whether -- right now in the Roxane case, for
21 happening with the states?                                         21 example, that's the main one, from our perspective, where
22          THE COURT: Yes.                                           22 we're just in the process of noticing five depositions of
23          MR. MERKL: The starting point, of course, is the          23 current or former employees.
24 documents. What we're finding with the states is, it's not         24          THE COURT: Why did it take so long to get to
25 as though they got the memo five years ago that these were         25 them?
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                                                                                     5 (Pages 14 to 17)
                                                                 14                                                                   16
 1          MR. HENDERSON: To the documents?                           1          THE COURT: But some of them weren't even
 2          THE COURT: Yes.                                            2 protected. They were cover memos. Some of them were
 3          MR. REALE: Your Honor, I'm not familiar with the           3 factual recitations or they were post-policy. I mean, it
 4 intricacies of this. I don't know that he's necessarily             4 wasn't even protected. Some of it was core, as you would
 5 giving you the full story.                                          5 say, but some of it wasn't even subject to it, and I don't
 6          THE COURT: This is a joint scheduling order,               6 know what to do with that. You know, there were cover
 7 joint, agreed upon, so how are they --                              7 memos. I didn't understand why they were being -- there
 8          MR. REALE: Your Honor, we were just compelled to           8 were ones that were from outside the agency, I forget, some
 9 produce some documents, and I know that --                          9 carrier. They weren't even protected.
10          THE COURT: Well, all right, that's different, but         10          So I don't know what to do. I think a master
11 did you do a basic document production long before now?            11 makes sense. I can't possibly do it myself, I can't. It
12          MR. REALE: Yes, your Honor.                               12 took me personally -- I didn't send it to a magistrate
13          MR. HENDERSON: They provided to us, your Honor, 13 judge. I didn't give it to a law clerk. I sat and read
14 what they had produced in other litigation without                 14 them and balanced, and I can't possibly do it for the volume
15 undertaking any independent search for the documents that we 15 of documents we're talking about.
16 requested, and it took a long time until we -- it took a           16          MR. HENDERSON: What I recommend, your Honor,
17 while. We finally moved to compel. We haven't even gotten          17 since we haven't filed an opposition to the motion, that we
18 the information, for example, the e-mails that Judge --            18 be permitted to file an opposition to that particular
19          THE COURT: When is the Roxane deposition                  19 motion. And I think it's probably inevitable that some of
20 scheduled for?                                                     20 these motions, whether it's the defense motions or a motion
21          MR. HENDERSON: Between now and December 15.               21 that we make, may require in individual circumstances for
22 We're still working with counsel to set these dates.               22 some particular depositions that we're going to go beyond
23          THE COURT: But what's pending in front of                 23 the December 15 deadline, just because it takes that time
24 Judge Bowler? Is there anything pending?                           24 for a motion to be heard and decided.
25          MR. HENDERSON: Right now there's just one                 25          THE COURT: I'm not extending the deadline short

                                                                 15                                                                   17
 1 deposition in the Dey case that we want to take a deposition        1 of family illness or personal illness. I mean, something
 2 of a former employee who happens to be in prison, so we have        2 that's human, of course I'm going to do that.
 3 to go -- we are required under the rule -- long story, your         3          MR. HENDERSON: Well, we're not suggesting that.
 4 Honor, nothing to do with their Dey employment. It's post-          4 We're just saying that in order to resolve a motion -- I
 5 employment conduct. But, in any event, the rules require            5 don't think all of these motions are going to be decided in
 6 that we file a motion to take a deposition.                         6 time to get these depositions done by the 15th.
 7          THE COURT: So I suggest you try and schedule a             7          THE COURT: Well, it might be that Judge Bowler
 8 hearing before Judge Bowler, like, soon. I was trying to            8 decides it after, but I think I would go in there with all
 9 look on the docket. I saw some of your motions, your                9 the information and try and schedule them. I mean, I don't
10 motions, like, on deliberative process privilege? I think          10 know why this is all coming up at the last minute, but I
11 you're being -- it took me -- I know we're going to get            11 know just as a practical matter that's what happens in
12 there -- it took me forever. I feel sorry for whoever you          12 litigation, but I am not generally reopening it.
13 entrusted this task with, but it took me forever to go             13          And so the big issue really is for me, on the
14 through the twelve documents because it's not all or               14 deliberative process privilege, many of these were old
15 nothing, you know. I mean, when you go through them, some 15 documents. Many of them were uncontroversial. I just
16 of it's protected, some of it's not, some of it I'd have to        16 couldn't even understand why it was worth the dime not to
17 balance. It takes forever, and I can guarantee you I am not        17 disclose them, even if there was argument for it. There
18 going to sit -- or I just talked to Judge Bowler. She said         18 were a couple where it was really heartland, you know, "This
19 it would be impossible for her to go through. I think you          19 is what I think, and this is what you think." You know,
20 were overprotective of the deliberative -- I mean, I               20 what you think about is deliberative of what a jury might
21 understand the institutional pressures that make you do            21 do, but most of it wasn't. You've seen it now.
22 that. It was overprotective. And most of these were old            22          MR. REALE: No, your Honor, we haven't.
23 documents. It was just unnecessary.                                23          THE COURT: Why?
24          MR. HENDERSON: Your Honor, we followed your               24          MR. REALE: They haven't produced it to us yet.
25 instructions to the T in that regard.                              25          MR. DALY: Mr. Draycott tells me that we'll have
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                                                                                    6 (Pages 18 to 21)
                                                                18                                                                     20
 1 them tomorrow, but we don't have them yet, Judge.                  1 but I can't prevent them from seeing what's there in order
 2          THE COURT: So any carrier documents shouldn't be.         2 to mount the defense. And if I ever reject it, it goes up
 3 Any cover memos shouldn't be. Any factual recitations              3 on appeal. So that's the issue. You want me to prejudge
 4 shouldn't be. Any drafts can be withheld, and anything             4 the defense, and I'm not willing to do that. I don't
 5 that's what you referred to in the memo occasionally as            5 disagree with you that a lot of it doesn't support their
 6 "core" deliberative, like core, the back-and-forth before a        6 theory, but they can't know that.
 7 policy, arguably. But the older it is, the less important          7          MR. DRAYCOTT: Your Honor, there were a lot of
 8 this thing is. And anything post-2003 you don't need to put        8 issues raised and a lot said in the motion that was just
 9 in unless it's referencing backwards; you know, "As we knew        9 filed, and I think that this is an area where a couple of
10 back then, we knew that these inhalers were --" But that          10 things: We would be well advised to listen and to reflect
11 doesn't need to come in. A, it's probably not relevant,           11 on everything that your Honor said today, and I think that
12 and, B, it's -- so the weighing would be different. But I         12 we listened very carefully to what your Honor said on
13 don't -- how many of these documents did you say were now 13 July 24, and we devoted an enormous amount of resources in
14 subject to this privilege?                                        14 trying to comply with that. So I would again implore you
15          MR. DALY: Judge, there's the eight that you              15 for an opportunity to respond. And we will also, while
16 ordered produced. There's forty-two that have been                16 we're responding to the motion that was filed yesterday, we
17 previously submitted to Judge Bowler that she has yet to          17 will consider all the points that your Honor has made.
18 rule on. I think she may have been waiting on your Honor's        18          Your Honor has also, I think, said some things
19 ruling. But there were two in camera submissions to her,          19 that were both helpful and, you know, caused more work for
20 one December, '07, one in June of this year, forty-two            20 us. We'll consider all of that. We'll look anew at the
21 there. And then, as I put in our motion, Judge, based on          21 privilege assertions that we've made, and we'll be doing
22 your ruling, it appears that a variety of documents that          22 that while we're also at the same time responding to the
23 should have been submitted were not. And there's no way in 23 motion, but if we can both try to respond to your Honor's
24 the world I'd want your Honor -- I would suggest your Honor 24 comments in a constructive way but at the same time also
25 do this. That's why I think we should appoint a special           25 address the request for a special master that has been made.

                                                                19                                                                     21
 1 master and get it over with.                                       1 And, for example, one clarification I can offer you that
 2          THE COURT: Why don't you talk about who might be          2 relieved us of a lot of burden, you've heard mention of the
 3 a special master. And let me just say this: I know this            3 forty-two documents that were submitted to Judge Bowler, but
 4 poor guy asked for additional time who was doing it                4 far and away, the bulk of those is prior drafts of final OIG
 5 initially. It must have taken him longer than -- what was          5 reports. Now, when your Honor ruled on the 24th, she said
 6 his name again? I am so sorry because it's really brutal.          6 you can just exclude those. If that principle were applied,
 7 And maybe you didn't want to do it page by page and                7 for example, to the documents that are before Judge Bowler,
 8 paragraph by paragraph. I sort of did. And so in the ones          8 it virtually -- I haven't looked at those in preparation for
 9 where I'm saying, like, there's no way the cover memo was,         9 today, but my recollection is that that would remove a huge
10 well, something maybe internal to it was, and you just            10 number of percentage of the documents that were submitted to
11 basically across the board claimed the privilege.                 11 Judge Bowler for in camera review.
12          MR. DRAYCOTT: We took, your Honor, no                    12          THE COURT: Well, why haven't you at least turned
13 exaggeration here, hundreds and hundreds of attorney and          13 over to them --
14 paralegal time in trying to respond to directions that your       14          MR. DRAYCOTT: Oh, your Honor, that was -- as soon
15 Honor gave us on the 24th, and the thing that I would             15 as we got your order, we forwarded it on to the Office of
16 actually implore you to do is to let us file a response to        16 General Counsel for the CMS division. It was just a matter
17 the motion that has been filed with your Honor and --             17 of advising the client agency. What I'm hoping your Honor
18          THE COURT: To this master thing.                         18 recognized from the declarations that had been filed by the
19          MR. DRAYCOTT: To the request. We just got it             19 agency in support of this privilege assertion, it was a
20 yesterday. We --                                                  20 matter of enormous importance.
21          THE COURT: Well, let me just say this: We need           21          THE COURT: But they didn't even go through them
22 to move this forward. I, quite candidly, don't think              22 document by document of the twelve. I mean, it was sort of
23 anything is proving up at all that the government both knew       23 this -- it was an across-the-board thing.
24 and approved of what I have been calling the "mega spreads."      24          MR. DRAYCOTT: But, your Honor, again, just to
25 They do support the 20 to 25 to 30 percent understanding,         25 answer your question, as soon as we got your order, we
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                                                                                      7 (Pages 22 to 25)
                                                                 22                                                                    24
 1 conferred with the client agency. We wanted to make sure            1 plausible basis, and you assert it. Usually the first stab
 2 that there was nothing further they wanted to require us --         2 through most attorneys overassert, and on the theory that,
 3 there was nothing more that they would ask of us by way of          3 well, we'll chisel back. My problem is that I have to
 4 reconsideration. I confirmed as late as this morning that           4 decide, A, if the privilege applies, and then, B, do a
 5 that's not going to occur, and I advised Mr. Daly that we           5 weighing, okay. So I've got Part B, and I couldn't entrust
 6 would turn over the documents. But I think that was a               6 that to the government as a matter of law to just do the
 7 minimal delay, and it was for that purpose.                         7 weighing. That's something I think I have to do. And so
 8          THE COURT: What I'm going to ask you to do, and I          8 since government knowledge is both relevant to the various
 9 mean this: Turn over everything that's relevant except              9 issues we've talked about -- scienter, reliance, there's a
10 where it's core deliberative process and you care -- and you       10 common law fraud claim, it's relevant to the government
11 care, that's the big thing, and you care -- because                11 knowledge defense -- they may go down in flames on it, but I
12 otherwise the burden is overwhelming. If we're left with           12 can't say they can't have the discovery.
13 forty documents, now that I've set up the basic standards, I       13          MR. DRAYCOTT: No, no, and I've heard your Honor
14 can go "thumbs up, thumbs down," and you don't have to do a 14 today, and I heard your Honor back on the 24th, but I'm just
15 master. But if we're at -- how many documents did you say          15 trying to make -- I'm trying to be clear in my own mind what
16 we're at, 2,000 or something like that? -- I'm going to make       16 I need to do after today, and I take it that I still owe
17 the government pay for the master because I can't do 2,000         17 your Honor a brief.
18 documents. And, you know, you spent hours on this.                 18          THE COURT: Do you have little stickies on the
19          MR. DRAYCOTT: I assure you I did.                         19 ones you really care about of the 2,000? How many documents
20          THE COURT: But, for example, there was a cover            20 did you say are subject to the deliberative privilege right
21 memo or there was the memo from a carrier. That's not even         21 now?
22 a prayer for those being --                                        22          MR. DRAYCOTT: Your Honor, we did throughout the
23       MR. DRAYCOTT: Well, your Honor, with respect the 23 process of logging these documents also review them, and we
24 cover memo, in my defense, it really didn't present as part 24 did attorney review on them, so I'm hard-pressed right now
25 of the same document, and the cover memo was just a couple         25 to answer your question off the cuff. But we can certainly

                                                                 23                                                                    25
 1 of sentences, so that's how that got added. But --                  1 go back, take another cut through these documents and, you
 2          THE COURT: But even in a lot of the memos, about           2 know, try to refine the -- and talk about -- we're going to
 3 90 percent of them were just factual recitations. They              3 need to talk about the issue with the client.
 4 weren't deliberative. So, in fairness, it took me paragraph         4          THE COURT: But I set a December 15 deadline, and
 5 by paragraph. I don't understand the lingo. I didn't                5 they're taking depositions, so -- and then do I want to
 6 understand the abbreviations. I can't guarantee I got it            6 reopen them again? And so --
 7 right. I can't. I mean, I just don't understand some of             7          MR. DRAYCOTT: But, your Honor, I don't know that
 8 it, so --                                                           8 appointment of a special master and giving it to a special
 9          MR. DRAYCOTT: Well, your Honor, I guess if I can           9 master would be --
10 respectfully get some clarification from your Honor then           10          THE COURT: Who's going to do this? Who's going
11 with respect to the current state. I take it that we are at        11 to do it?
12 the same time permitted to respond to the motion that was          12          MR. DRAYCOTT: A great amount of that is going to
13 filed. In the interim, we have direction from your Honor           13 fall to me, your Honor, and --
14 with respect to some broad categories that we can both, you        14          THE COURT: No, but I've got to no matter what.
15 know, take in and take out. We'll try to respond to that,          15 You told me how many you thought there were.
16 but at this point we can, I think -- I'm hoping that I             16          MR. DALY: Well, from their privilege log alone,
17 understand your Honor correctly that we can respond on both 17 Judge, we had 200, but there is, like, boxes of documents
18 fronts, that we can both go back and revisit our privilege         18 that they never even logged. These documents from the
19 assertions, try to refine them, and look at them with the          19 Legislative office, three of which you've ordered produced
20 guidance that we've received from your Honor today in mind, 20 to us, they've never even logged them. So the log is one
21 but that we still may respond to the motion for a special          21 thing. We gave you a list of 200 we think ought to be
22 master?                                                  22 looked at. Perhaps counsel can look at those, decide which
23        THE COURT: Here's the problem. I remember being 23 one he wants to give us. Whatever is left we would put to a
24 a lawyer. We all remember. I'm sure you do this for      24 special master. But there's a bunch of stuff, Judge, that
25 attorney-client privilege. You look at whether there's a 25 they never logged. They took the Office of Legislation and
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                                                                                      8 (Pages 26 to 29)
                                                                26                                                                     28
 1 in a broad sweep just said, "That's" all DPP. That's all           1 the documents which show knowledge of the --
 2 deliberative process privilege." We don't even know what           2          THE COURT: Excuse me, you're not hearing me.
 3 the particulars are, so --                                         3 First, you have to figure out, are they privileged? Does it
 4          MR. DRAYCOTT: You Honor, can I get a                      4 even apply? Otherwise, shovel it over. Is it deliberative?
 5 clarification? I mean, again, in terms of the questions            5 Was it predecisional and deliberative? If it's not
 6 you've asked of me, I'm assuming that we're working within         6 predecisional and deliberative, regardless of this other
 7 the parameters that your Honor set on July 24. There what          7 subcategory, it's got to be turned over, and it's got to be
 8 you indicated for us to submit for in camera review are            8 done page by page and paragraph by paragraph. If in fact it
 9 documents which showed the existence of the mega spreads for       9 is predecisional and deliberative, that's when I've got to
10 both infusions and inhalants.                                     10 come into it: Well, what about the weighing? As a general
11          THE COURT: The kind of drugs that they                   11 category, I'm going to weigh it in their favor if it
12 manufacture, isn't that what they are?                            12 involves vancomycin, infusions and inhalants. If it doesn't
13          MR. MERKL: Yes, your Honor.                              13 involve those, I'm likely to weigh it your way.
14          MR. DALY: Vancomycin.                                    14          MR. DRAYCOTT: But what I'm saying, your Honor, is
15          MR. DRAYCOTT: The infusions, inhalants,                  15 we've done that work and you've done that work now.
16 vancomycin, and then your Honor also addressed the                16          THE COURT: Well, but for twelve, twelve sets of
17 cross-subsidization issue, and then we were also talking          17 documents.
18 about anything that related particularly to Abbott, Dey, or       18          MR. DRAYCOTT: Well, with respect to the category
19 Roxane. So it's that, if I'm understanding --                     19 that you directed us to submit in camera on the 24th; that
20          THE COURT: That sounds fair, yes.                        20 is, the documents that show knowledge of the mega spreads
21          MR. DRAYCOTT: Now, we've essentially complied            21 for infusions, inhalants, vancomycin, and for the documents
22 with the order and your Honor has done that work and has          22 that mention --
23 issued the order on what documents we have to turn over. I        23          THE COURT: Why didn't you disclose it to them
24 think what Mr. Daly is now alluding to is documents that          24 then?
25 were withheld that may relate to policy-making generally but      25          MR. DRAYCOTT: Well, your Honor, again, this goes

                                                                27                                                                     29
 1 don't specifically reference a mega spread or an infusion          1 back to, we conferred with the client agency, and they're
 2 drug or a -- and if we're talking about that, then there's         2 going to be turned over tomorrow.
 3 very little more to do because the work has been done. So          3          THE COURT: No, but why did I have to go through
 4 if we're staying within the parameters that your Honor set         4 the exercise of the in camera review?
 5 on July 24, then there's very little work to do, if any.           5          MR. DRAYCOTT: But, your Honor, my --
 6          THE COURT: Don't forget, don't forget, this is            6          THE COURT: You know what, are there 200 of them?
 7 what I think -- I agree totally with the way you just              7 Is that it?
 8 described it, but they've got to be privileged to begin            8          MR. DALY: 200 on the privilege log, Judge, yes.
 9 with. They've got to be deliberative or attorney-client,           9          MR. DRAYCOTT: I'm not sure to which that --
10 whatever, so they've got to be privileged to begin with. So       10          THE COURT: Why don't you give them to him?
11 it's not enough -- in other words, they may be relevant,          11          MR. DRAYCOTT: Which, the --
12 broadly speaking, but not privileged. So on the privilege,        12          THE COURT: The 200 --
13 when I did the weighing, anything that shows knowledge of         13          MR. DRAYCOTT: I'm not sure which --
14 that almost automatically I'm going to weigh in their favor.      14          THE COURT: -- that you've asserted deliberative
15          MR. DRAYCOTT: But, your Honor, what I'm saying           15 process privilege.
16 is, what we've done is, we've complied with the direction         16          MR. DRAYCOTT: I'm not sure to what group of
17 that you gave us on the 24th.                                     17 documents Mr. Daly is making reference, which is why I'm
18          THE COURT: Some of the stuff just wasn't                 18 having trouble, your Honor.
19 privileged. It didn't even get to Point A.                        19          MR. DALY: Your Honor, it's the motion that we
20          MR. DRAYCOTT: Right, at which point -- and you've 20 filed. It's Schedule 1 to the motion. We selected 200 by
21 ordered it turned over, and it will be in their hands             21 number from your privilege log and said, "Judge, based on
22 tomorrow.                                                         22 these titles, these ought to be looked at." We didn't even
23          THE COURT: But the issue is, I haven't looked at         23 ask to do the whole privilege log, Judge.
24 the other 200.                                                    24          THE COURT: Well, what if I looked at -- maybe
25          MR. DRAYCOTT: But if what you're asking for is           25 take every fifth one, and if I think there's a problem, I'll
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                                                                                      9 (Pages 30 to 33)
                                                                 30                                                                   32
 1 send it to a master?                                                1           MR. HENDERSON: Well, it depends whether you're
 2          MR. DALY: We've got this other problem, Judge,             2 going to narrow the categories to the ones, the categories,
 3 that with respect to these documents that were not reviewed         3 the ones that were addressed at the last hearing and which
 4 in response to your July 24 order, in their brief, Judge,           4 Mr. Draycott just described, or now you're expanding them to
 5 they say that they looked at the log, the log was the               5 the entire universe.
 6 parameter of what they looked at to determine what you              6           THE COURT: I just want you to turn them over
 7 wanted from your July 24 order. According to their own              7 because I don't want to do this. Okay, that's what I really
 8 briefing, the rule-making files were not reviewed, the              8 want. But you're not willing to do that, okay? Because I
 9 legislative files were not reviewed, and I cannot let --            9 hate doing it. More than life itself, I hate going through
10          MR. DRAYCOTT: But that's what took the greatest           10 these documents. I hate it. So if I've got to, I will. So
11 bulk of the time was reviewing the rule-making support             11 the reality is, the basic thing I want to say is, if you
12 files. We were told they want them in detail to this in the        12 don't care, turn them over. It's only where you really
13 document that was submitted --                                     13 care --
14          THE COURT: And it may well be that earlier drafts         14           MR. DRAYCOTT: Your Honor, the one thing that I
15 of rules and all that aren't going to qualify. I don't want        15 would ask you to understand -- and, believe me, your Honor,
16 to spend -- I'm going to take a look at -- you show him the        16 as much time as you spent, I guarantee you I was hour for
17 200 documents. You give it to me, and if I think it's a            17 hour doing it with you. But we do have a client agency
18 mess, I'm going to appoint a special master. Who do we             18 whose interests we are representing here, and so while
19 want? We're getting to December 15. I can't wait. It's             19 you're saying, you know, "Do you care?" there's two levels
20 Thanksgiving. You all have families. I can't have you              20 of which you're speaking to me: one, as an attorney for the
21 working over Thanksgiving. I'm not bucking the December 15 21 Department of Justice, and then -- but also I have CMS as a
22 date. We're moving.                                                22 client, and it is CMS that has asserted that privilege.
23          MR. DALY: Judge, we'll take anybody that your             23           THE COURT: Well, then let their attorneys do it.
24 Honor has a confidence and faith in that you've worked with        24           MR. DRAYCOTT: And we're certainly going to bring
25 before. We're happy with whatever your Honor chooses.              25 them in, and we will consult with them. But I will get back

                                                                 31                                                                   33
 1          MR. DRAYCOTT: Your Honor, I need to confer with            1 to the issue that Mr. Henderson just raised, which is, in
 2 Mr. Henderson and Ms. Smith.                                        2 order for me to go forward, I need to be very clear if we're
 3          THE COURT: I'm thinking some retired Superior              3 on the same criteria that your Honor established back on the
 4 Court judge.                                                        4 24th, which is the mega spreads for the infusions,
 5          MR. HENDERSON: Judge, I don't think that it's              5 inhalants, the vancomycin, the cross-subsidization. If
 6 going to affect the discovery, the deposition schedule.             6 that's what you're asking us to corral, we did a tremendous
 7 These depositions -- there are no depositions that are              7 amount of work in advance of the submission that we filed to
 8 pending.                                                            8 you and which you've now ruled upon, and what's left to do
 9          THE COURT: I'm just simply saying, I need to get           9 is not going to be burdensome, if at all, because that's the
10 some closure on this. I need to move on. I understand how          10 criteria we're looking for, those documents within that
11 the government works very well, and deliberative process           11 criteria that we're going to be looking at.
12 privilege is a very difficult privilege because it                 12           THE COURT: Those criteria were the ones where I
13 requires -- you're going to weigh it differently than I am.        13 said I thought the deliberative process privilege would be
14 So I went through just as a sample. I deliberately didn't          14 outweighed by the defendants' needs, but you have to make
15 refer it to a magistrate judge because they care so much,          15 the threshold decision first about whether they're
16 they've been sort of over the top on this, so I thought,           16 deliberative and predecisional. In other words, there might
17 "All right, I'll look." And sometimes I agreed, sometimes I        17 be tons of other documents that you need to produce that
18 disagreed, sometimes I partially agreed and partially              18 don't fall in that category but aren't protected by the
19 disagreed. Everyone's going to call this differently. I'm          19 deliberative process privilege.
20 not saying this is bad faith. I am simply saying I have not        20           MR. DRAYCOTT: One moment, your Honor. If I
21 got the resources to go through a gazillion documents and          21 can --
22 write up a memo like I did on this on every single one. I          22           THE COURT: Do you understand what I'm saying?
23 can't. So we can either go to a master, or I can spot-check        23           MR. HENDERSON: Now I get it, now I get it. Okay.
24 a few of them, and if I think that there's a problem, then         24           MR. REALE: Your Honor, I'd like to raise one
25 I'll appoint a master.                                             25 additional issue, if I may, and that is that they are
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                                                                                    10 (Pages 34 to 37)
                                                                  34                                                                   36
 1 seeking recovery on behalf of their expenditures to the              1 don't produce it, they've got a problem, but I have no
 2 Medicaid programs to all fifty states. And here we are in            2 idea -- I see he's going like this and like this. I don't
 3 November, and we've asked for it, and they've agreed to              3 know whether it's dispositive or not. I don't know. I
 4 produce claims data from all fifty states; but for Roxane,           4 don't understand it, so I'll get to that at summary
 5 we still haven't received complete claims data from nineteen         5 judgment.
 6 states, and we still haven't received MAC data from                  6          So this is what we're going to end up doing on
 7 thirty-eight states.                                                 7 this, okay, this is what we're doing: The discovery
 8          THE COURT: When is that going to be produced?               8 deadline is still December 15. I agree with you that it
 9          MR. MERK: Dey as well, your Honor.                          9 is -- we will have enough on our plate so that if in fact
10          THE COURT: When is all that going to be produced?          10 you can piggyback on these other states, I don't see the
11          MR. HENDERSON: We've produced what we've got.              11 need for both sides to be spending this kind of money on
12 There are going to be a lot of states where -- there are two        12 them. At some point, if they're too slow, I will leave it
13 categories -- let me -- I have to back up so you'll                 13 up to the parties to let me know that it's too slow, and I
14 understand.                                                         14 will have to let you do these seven other states. You know,
15          THE COURT: I don't know why this is all happening          15 I'm not going to wait.
16 a month before the deadline after four years on both sides,         16          MR. MERKL: I understand.
17 why Roxane did a dump and why you haven't done a dump yet.          17          THE COURT: But I think we have enough to do. We
18          MR. HENDERSON: Well, we can't produce what we              18 will go with the other states. The December 15 deadline for
19 don't have, your Honor.                                             19 the other states is on. We're going to stick with the
20          THE COURT: Excuse me. You should have produced             20 expert discovery schedule, et cetera.
21 it. It shouldn't have happened last week, okay? I know              21          With respect to the deliberative process
22 we've been dithering with Roxane for a while now. It should         22 privilege, you're going to give me the 200 documents he's
23 have been produced. But now let's go to your issue.                 23 talking about, and then I'm going to take a look, and then
24          MR. HENDERSON: On the claims data, your Honor, we 24 I'm going to appoint a master if I think that it's just
25 can't produce what we don't have. There are many states             25 going to be too time-consuming. My guess is from my review

                                                                  35                                                                   37
 1 where we do not have claims data that we've obtained from            1 of the twelve sets of documents you gave me, it took -- I
 2 the states. What we have is a different level. There is a            2 would not be able to do 200, and I called Judge Bowler, and
 3 top level that CMS does obtain on a routine basis that is on         3 she doesn't have the time either. You need to go down to
 4 a Web site. It's always been available to the defendants.            4 Judge Bowler and see her and get a ruling because I am not
 5 They've got it. They've had it for a long time.                      5 reopening the December 15 deadline. Now, if she makes
 6          There is another level of claims data that we have          6 certain rulings that need by force to come in afterwards,
 7 obtained from the states. We've produced that. They've had           7 that's a different story, but I'm not generally extending
 8 it for a long time, with the exception that in the last              8 that deadline.
 9 month or so there may be one or two states where we just             9          MR. DRAYCOTT: Two points of clarification, and
10 recently got something. We have to process it. We'll                10 thank you, your Honor, and I do have, I think, a clearer
11 produce it as soon as we can. Then there are a whole mess           11 understanding. But, one, with respect to the 200 documents,
12 of other states where we don't have any data other than that        12 I take it that you would have us go back, rereview those.
13 top level that they've already got. That's what Mr. Reale           13 You don't want the 200 right away, but just turn over to you
14 is talking about is this data that we haven't collected, and        14 any which we propose to continue to withhold from
15 we're going to have to make our case without it, your Honor, 15 defendants. Is that right?
16 but we don't have it. The states haven't produced it.        16       THE COURT: When can you do that? How about --
17          THE COURT: If they don't have it, they don't have          17 today is Thursday -- how about next week? Is next week
18 it, which means they may lose on those claims because I             18 Thanksgiving?
19 can't create something out of nothing.                              19          MR. MERKL: The week after, your Honor.
20          MR. REALE: Your Honor, they have to drop those             20          MR. DRAYCOTT: Your Honor, knowing how long and
21 claims if they don't have it.                                       21 how much work went into the last submission to you, I would
22          THE COURT: You know what, I'm not doing that               22 like to take some more time. I will try to do it with all
23 right here.                                                         23 deliberative speed.
24          MR. REALE: I understand that, but --                       24          THE COURT: It might be quicker to have me do it,
25          THE COURT: This is about discovery. If they                25 like, "yes, no, yes, no."
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                                                                                   11 (Pages 38 to 41)
                                                                  38                                                                  40
 1          MR. DRAYCOTT: But I would like to -- we will,               1 easier for me. I think it also makes it easier for
 2 your Honor, try to glean this down to the ones that, again,          2 Judge Bowler with respect to the documents that are now --
 3 which you -- you asked me if there were ones that have a tab         3          THE COURT: The drafts, as long as the final is
 4 on it of being of special importance, and I've indicated             4 produced.
 5 that that hasn't been done yet, but it's the first thing I'm         5          MR. DRAYCOTT: Absolutely.
 6 going to do. I only got Mr. Daly's -- sorry -- the Abbott,           6          THE COURT: Yes, sure. And there was one other
 7 the joint submission yesterday. I really barely had time to          7 memo you gave me you said was just a draft, so it was hard
 8 look at it before today. We'll go back to the 200                    8 for me to understand because you didn't give me a
 9 documents. We'll look very closely at them, and then we              9 declaration that went document by document. At least I
10 will submit to you any which we're not going to turn over.          10 didn't find it.
11 And we'll go back to the agency and ask them whether or not         11          MR. DRAYCOTT: No, no, we were relying on prior
12 they're willing to --                                               12 declarations.
13          THE COURT: I know, but how long is this going to           13          THE COURT: But they were broad-sweeping, the end
14 take? We have December 15, and I can't --                           14 of the Republic if these are produced.
15          MR. DRAYCOTT: Your Honor, I'm going to start the           15          MR. DRAYCOTT: Your Honor, thank you. I think
16 process tomorrow.                                                   16 I've got the clarification I need, and we will endeavor --
17          THE COURT: Because it took you three months last           17          THE COURT: Next week. And you saw what I
18 time.                                                               18 excluded, I mean, the real back-and-forth: "I recommend
19          MR. DRAYCOTT: I will endeavor --                           19 that you do this policy thing for this reason," and the guy
20          THE COURT: And I'm not for a minute saying you             20 says "No." I mean, that's like core stuff, but 99 percent
21 didn't work hard. If anything, I pity you right now                 21 of it wasn't that.
22 because, I mean, it's like going back and re-eating food you        22          MR. DRAYCOTT: Your Honor, I gave your order a
23 didn't like the first time around.                                  23 very careful reading and will continue to do so. Thank you.
24          MR. DRAYCOTT: The pity doesn't seem to be getting 24                   MR. HENDERSON: Just a couple of fine points, your
25 me too far today, but I will endeavor to do this by a week          25 Honor.

                                                                  39                                                                  41
 1 from tomorrow.                                                       1          THE COURT: I'm sure they're fine.
 2          THE COURT: Fair enough, fair enough. And then               2          MR. HENDERSON: Well, yes. On the seven states
 3 I'll just do a quick "yes, no, yes, no." I can't begin to            3 that are going to go after December 15, am I correct in
 4 do it paragraph by paragraph the way I did the last time,            4 understanding it will be one 30(b)(6) and one 30(b)(1)
 5 but the reality is that it was -- I think what you did is,           5 deposition per state?
 6 you saw a document; if there was something there that was            6          MR. MERKL: Your Honor, what we propose to do is,
 7 deliberative, you withheld it. I think that the law doesn't          7 we'll just cross-notice whatever they do. If they do three
 8 let you do it so broadly.                                            8 or four depositions in the state, we'll do three or four.
 9          MR. DRAYCOTT: No, but the thing that we didn't do           9 The whole idea is to avoid having to go out and making them
10 generally, your Honor, is we didn't go through redactions.          10 do this extra process.
11 Of course, we were never asked to do that, but we can also          11          MR. HENDERSON: Some of these states have had
12 consider redactions at this point, which is --                      12 dozens of depositions that just --
13          THE COURT: It will take you forever.                       13          THE COURT: I can't answer that in advance. I
14          MR. DRAYCOTT: Well, again, we'll try to get this           14 mean, my theory was on this that it would have some limits
15 done.                                                               15 on it per state, but if somebody is already taking a
16          THE COURT: Most of these documents were from the 16 deposition --
17 late 1990s. They're ten years old, right?                           17          MR. MERKL: Exactly, your Honor, these are
18          MR. DRAYCOTT: Your Honor, believe me, I've heard 18 happening anyway.
19 everything that your Honor said today, the concerns that            19          THE COURT: What?
20 you've raised and the places where you think we're on firmer        20          MR. MERKL: These are all depositions that would
21 ground and less firm ground. Just to clarify, though, I             21 be happening anyway.
22 take it the one thing -- the greatest bulk of the documents         22          THE COURT: Yes, I know, but at some point it's a
23 for which we have asserted privilege are drafts of OIG              23 burden on the -- the litigating burden. It's whatever it
24 reports, and your Honor excluded that from the last time we         24 was for these other states: one 30(b)(6), one 30(b)(1), you
25 were here. If that's still excluded, I think that makes it          25 can cross-notice. Do you want to attend the rest and I
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                                                                                    12 (Pages 42 to 45)
                                                                  42                                                                    44
 1 would use the information? Sure. But I can't make the                1          THE COURT: Right.
 2 government attend all of these if there are eight per state.         2          MR. MERKL: What I don't understand is, is the
 3 You can still use the materials, but you just won't --               3 government saying, for the seventeen states that we don't
 4          MR. MERKL: Be able to ask questions, but we can             4 have the claims data for yet, we don't have it because it
 5 use the material.                                                    5 doesn't exist at the state level? Or is it some problem
 6          THE COURT: Yes, but you can use the material.               6 where they're having trouble getting it from the states
 7          MR. MERKL: Or we can ask questions of one and               7 where the onus is kind of now on me to go to these states
 8 notice a 30(b)(6) of --                                              8 and get it?
 9          THE COURT: Yes.                                             9          THE COURT: Which is it, that it doesn't exist or
10          MR. MERKL: Okay.                                           10 the states won't give it to you?
11          THE COURT: But they can use the material. If               11          MR. HENDERSON: I think probably every state has
12 it's out there under oath, it can be used.                          12 claims data. They process claims. We have not had, quite
13          MR. HENDERSON: On summary judgment, I think                13 frankly, the resources to go out and -- it's very
14 anybody can use anything that's under oath basically.               14 time-consuming to collect this data, so we have not done it
15          One other fine point, your Honor. The last time            15 for all fifty states, and some states simply haven't
16 around, I think it was in the Abbott case, there were a             16 produced it to us. So we just don't have it all, and we're
17 couple of situations -- and I think I speak on behalf of all        17 unlikely to get much more. It's possible we could get
18 the parties here -- where a witness got sick or something           18 another state or two before December 15, but --
19 and the deposition had to be postponed.                             19          THE COURT: Do they understand they won't get
20          THE COURT: Sure.                                           20 their half if they don't do it?
21          MR. HENDERSON: And the question is, can we, if we 21                   MR. HENDERSON: Your Honor, we're going to rely on
22 all agree that a deposition has to be scheduled for that            22 the data, more summary data that is reported to CMS that's
23 type of reason, can we do it ourselves without seeking leave        23 on the Web site. That's what's been done in the Abbott
24 of Court?                                                           24 case, for example.
25          THE COURT: Of course, of course.                           25          THE COURT: And that may be enough or not. I just

                                                                  43                                                                    45
 1          MR. HENDERSON: Thank you, because last time it              1 don't understand it well enough.
 2 took many months.                                                    2          MR. HENDERSON: And the defendants will move to
 3          THE COURT: If you all agree, I mostly agree. My             3 exclude our damages estimates to the extent that they rely
 4 biggest issue is that this case is getting very old, and             4 on that high-level data, and the Court will have to decide,
 5 short of the First Circuit just ending the entire case,              5 but we can't produce what we don't have.
 6 we're all going to grow old together unless we get this              6          THE COURT: All right, that's where it is. I
 7 moving, right? I mean, this case, I'm still getting new              7 can't refine it any more.
 8 cases in it.                                                         8          MR. MERKL: No, I understand, your Honor. I guess
 9          MR. MERKL: Kansas.                                          9 what I'm saying is, if it really exists, CMS can direct the
10        THE COURT: It's been seven years since I started,    10 states to give it to us. I understand the states may not
11 so we need to get some momentum on the case. Even if I just 11 want to do it, but they're claiming these states. The data
12 had five sample cases that could be briefed all the way     12 we're talking about, your Honor, is the type of thing you're
13 through to give people a sense of how I might come down on 13 looking at in Massachusetts --
14 these things. Maybe I could even divvy it up, and then you 14       THE COURT: I tell you what, if you want to
15 could go on appeal or something, just something, and then           15 subpoena it, subpoena it. They're stuck with whatever they
16 maybe have some serious -- have you started talking                 16 produce.
17 settlement?                                                         17          MR. HENDERSON: One final thing, your Honor. I
18          MR. HENDERSON: Yes, your Honor. In fact,                   18 think we should have a scheduling conference scheduled at
19 Mr. Merkl --                                                        19 some point, certainly both to talk about what the status is
20          THE COURT: We need to go off the record for this.          20 of these other seven states later on down the road, and also
21          MR. MERKL: We can do that in a second. Can I               21 I think, too, when we get closer to summary judgment, to
22 just ask for clarification on the claims data? I                    22 talk about how we're going to approach summary judgment. We
23 understand, obviously, if the government doesn't have it, we        23 don't have a game plan right now. We've had a little bit of
24 won't get it; and the consequences of not having it, we'll          24 discussion amongst us, but I think it's going to -- some
25 litigate that later.                                                25 months from now --
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                                                                            13 (Pages 46 to 48)
                                                             46                                                          48
 1          THE COURT: What are you thinking of?                  1              CERTIFICATE
 2          MR. HENDERSON: January-February time period.          2
 3          THE COURT: I'm thinking you're going to have to       3
                                                                   UNITED STATES DISTRICT COURT )
 4 brief it state by state, right?
                                                                 4 DISTRICT OF MASSACHUSETTS ) ss.
 5           MR. MERKL: That's our view.                           CITY OF BOSTON                  )
 6           MR. DALY: Not necessarily, Judge.                   5
 7           MR. HENDERSON: I don't think we're going to have 6
 8   fifty summary judgment motions.                             7        I, Lee A. Marzilli, Official Federal Court
 9           THE COURT: I don't know enough. If Mylan is any     8 Reporter,   do hereby certify that the foregoing transcript,
                                                                 9 Pages 1 through 47 inclusive, was recorded by me
10   indication, it's so sui generis.
                                                                10 stenographically at the time and place aforesaid in Civil
11           MR. HENDERSON: Well, there are going to be         11 Action Nos. 07-12048, 06-11337, and 05-11084, In Re:
12   state-by-state issues, but, in any event, it just seems to 12 Pharmaceutical Industry Average Wholesale Price Litigation,
13   me we may need a scheduling conference or a status         13 and thereafter by me reduced to typewriting and is a true
14   conference. If your Honor doesn't want to do it, that's    14 and accurate record of the proceedings.
15   fine. It just seems to me --                               15         In witness whereof I have hereunto set my hand
                                                                16 this 19th day of November, 2008.
16           THE COURT: Let me put it this way: I had this
                                                                17
17   and I thought this was very helpful today, and I thank you 18
18   all for coming. I'm just simply saying, I don't know when  19
19   to schedule it for. I don't have theoretical opposition,   20
20   but I don't want to create problems. The way we have this  21            /s/ Lee A. Marzilli
21   now, you're going to be done with --                                     __________________________________
                                                                22            LEE A. MARZILLI, CRR
22           MR. HENDERSON: How about after the close of
                                                                              OFFICIAL FEDERAL COURT REPORTER
23   expert discovery?
                                                                23
24           THE COURT: Which is when?                          24
25           MR. HENDERSON: I've forgotten. Does anybody        25

                                                             47
 1 know? The beginning of March maybe?
 2          MR. MERKL: March --
 3          THE COURT: Close of expert discovery, May 22?
 4          MR. MERKL: Yes, May 22, your Honor. Close of
 5 expert for the Abbott, Dey, and Roxane cases, May 22, 2009.
 6          THE COURT: Robert, why don't we give them a date
 7 in May, and it's without prejudice to anyone asking to come
 8 in sooner, if that's necessary, because this was useful
 9 today. When should we do this in May?
10          THE CLERK: May 28 at 2:00 p.m.
11          MR. MERKL: Is that Memorial Day?
12          THE CLERK: The Thursday of Memorial Day week.
13          THE COURT: Now let's go off the record.
14         (Discussion off the record.)
15          (Adjourned, 4:45 p.m.)
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